Case 9:21-cv-80162-KAM Document 9 Entered on FLSD Docket 03/02/2021 Page 1 of 1




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 21-CV-80162-MARRA

 NELSON FERNANDEZ,

        Plaintiff,
 vs.

 ULTIMATE SOCCER LLC, d/b/a
 ULTIMATE SOCCER STORE, a
 Florida limited liability company,

       Defendant.
 ______________________________/

                     FINAL ORDER OF DISMISSAL WITH PREJUDICE

        THIS CAUSE is before the Court upon Plaintiff’s Corrected Notice of Voluntary

 Dismissal with Prejudice [DE 8].

        THE COURT has considered the Corrected Notice, and the pertinent portions of the

 record, and being otherwise fully advised in the premises, it is hereby

        ORDERED AND ADJUDGED that this Cause be, and the same is, hereby DISMISSED

 with prejudice. Fed. R. Civ. P. 41 (a)(1)(A)(ii). Any pending motions are denied as moot.

 This case is CLOSED.

        DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County, Florida,

 this 2nd day of March, 2021.




                                                              KENNETH A. MARRA
                                                              United States District Judge
